             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:06-cr-00043-MR-DLH-4


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )              ORDER
                                )
KIMBERLY DAWN PALMER,           )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s “Motion for Time

Extension to File Minor Role Reduction” [Doc. 200] and the Defendant’s

“Request for Modification of Sentence Pursuant to Amendment 794 and 18

U.S.C. 3582” [Doc. 201].

     On September 6, 2006, the Defendant pleaded guilty pursuant to a

written plea agreement to one count of conspiracy to manufacture and

possess with intent to distribute methamphetamine, in violation of 21 U.S.C.

§§ 846 and 841. The Defendant absconded for a period of time. She was

apprehended in the Southern District of Texas in June 2014 and was

returned to this District. [Doc. 166]. On December 16, 2014, the Defendant

was sentenced to a term of 168 months’ imprisonment. [Doc. 182]. She did

not file a direct appeal. On August 3, 2016, the Defendant filed a motion to


   Case 1:06-cr-00043-MR-WCM    Document 203   Filed 12/21/16   Page 1 of 3
vacate pursuant to 28 U.S.C. § 2255, arguing that Amendment 794 to

U.S.S.G. § 3B1.2 makes her eligible for a minor role adjustment to her

already reduced sentence.1            [Doc. 198].       The Court dismissed the

Defendant’s § 2255 motion without prejudice to bringing her claim in a motion

for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2). [Doc. 199].

On October 25, 2016, the Defendant filed a motion seeking an extension of

time to file her § 3582 motion. [Doc. 200]. On October 31, 2016, the

Defendant filed her motion pursuant to 18 U.S.C. § 3582(c)(2) to reduce her

sentence based on Amendment 794. [Doc. 201].

      The Sentencing Guidelines Manual does not specify Amendment 794

as a retroactively applicable amendment. See U.S.S.G. § 1B1.10(d) (2015).

Even assuming that Amendment 794 could be applied retroactively,

however, it would not affect the Defendant’s sentence. Amendment 794

amended the commentary to U.S.S.G. § 3B1.2 in order to provide a list of

non-exhaustive factors for the sentencing court to consider in determining

whether to apply a mitigating role adjustment. See U.S.S.G. app. C, amend.

794, at 116. Here, the factual basis presented in the Presentence Report

(“PSR”) makes clear that the Defendant was far more than a minor or



1 By having avoided custody for eight years, Petitioner realized the benefit of Amendment

782 (effective November 1. 2014) at the time of her sentencing.

                                           2

   Case 1:06-cr-00043-MR-WCM         Document 203      Filed 12/21/16    Page 2 of 3
minimal participant in the subject conspiracy. In fact, the PSR notes that the

Defendant regularly bought and sold methamphetamine and was

responsible for at least 500 grams of methamphetamine during the course

of the conspiracy. [Doc. 179 at ¶¶ 9-15]. Thus, Amendment 794 has no

bearing on the Defendant’s case.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

“Motion for Time Extension to File Minor Role Reduction” [Doc. 200] is

GRANTED, and the Defendant’s “Request for Modification of Sentence

Pursuant to Amendment 794 and 18 U.S.C. 3582” [Doc. 201] is DENIED.

      IT IS SO ORDERED.
                               Signed: December 21, 2016




                                        3

   Case 1:06-cr-00043-MR-WCM     Document 203         Filed 12/21/16   Page 3 of 3
